                                            Case 4:07-cv-05944-JST Document 4980 Filed 10/25/16 Page 1 of 3




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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7       IN RE: CATHODE RAY TUBE (CRT)                     MDL No. 1917
                                           ANTITRUST LITIGATION
                                   8                                                         Case No. C-07-5944 JST

                                   9                                                         ORDER DENYING MOTION IN
                                           This Order Relates To:                            LIMINE RE TESTIMONY OF
                                  10                                                         KENNETH ELZINGA
                                  11       ALL DIRECT ACTION PLAINTIFFS
                                  12
Northern District of California
 United States District Court




                                  13             Defendants have filed a Joint Motion to Exclude Certain Expert Testimony of Professor

                                  14   Kenneth Elzinga. ECF No. 3174 (“Elzinga Mot.”). The motion is fully briefed. See ECF Nos.

                                  15   3404 (“Elzinga Opp’n.”), 3522 (“Elzinga Reply”). The Court denies the motion.

                                  16             Professor Elzinga, an economist, submitted two reports in connection with this case. See

                                  17   ECF No. 3173-6 at 5-224 (“Elzinga Report”), 226-388 (“Elzinga Rebuttal”). Defendants seek to

                                  18   exclude some portion of pages 79-151 of the Elzinga Report and of pages 37-62 of the Elzinga

                                  19   Rebuttal.1 Defendants argue that the challenged pages (1) reflect a narrative of the facts divorced

                                  20   from expert analysis, (2) contain improper opinions consisting of legal conclusions, and (3) offer

                                  21   improper opinion as to subjective intent, motive, or state of mind. Id. at 7-13, Elzinga Reply at 1-

                                  22   11.

                                  23             As a preliminary matter, the expert report is hearsay, and therefore inadmissible. E.g.,

                                  24   Arizona, Dep’t of Law, Civil Rights Div. v. ASARCO, L.L.C., 844 F. Supp. 2d 957, 965 (D. Ariz.

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                                  26     Precisely which portions they seek to exclude is unclear: in the body of the motion, Defendants
                                       ask the Court to “preclude Professor Elzinga from presenting a narrative at trial, inferences about
                                  27   the existence of ‘agreements,’ and inferences about Defendants’ motive and intent.” ECF No.
                                       3174 at 21. Presumably, this is something less than all of the cited portions of Professor Elzinga’s
                                  28   report. Without further guidance, however, the Court proceeds to decide the motion as though it is
                                       directed to all of the cited portions.
                                         Case 4:07-cv-05944-JST Document 4980 Filed 10/25/16 Page 2 of 3




                                   1   2011), aff’d sub nom. Arizona v. Asarco LLC, 543 F. App’x 702 (9th Cir. 2013), adhered to on

                                   2   reh’g en banc, 773 F.3d 1050 (9th Cir. 2014), and aff’d sub nom. Arizona v. ASARCO LLC, 773

                                   3   F.3d 1050 (9th Cir. 2014). Thus, the jury is unlikely to see the document itself in the absence of a

                                   4   stipulation. If Professor Elzinga wants to relate his opinions or the basis of them to the jury, he

                                   5   will have to do so from the witness stand.

                                   6          Turning to the substance of Professor Elzinga’s report, his opinions generally are as

                                   7   follows:

                                   8                 (1)     Conditions in the CRT industry (including a high combined market share,
                                              impediments to entry, and a small elasticity of supply) would be conducive to the effective
                                   9          operation of a conspiracy to fix prices;
                                  10                 (2)     The Defendants and co-conspirators behaved in a manner that is consistent
                                              with the operation of a cartel and inconsistent with non-cooperative oligopolistic
                                  11          competition; and
                                  12                  (3)    Based on the economic evidence and CRT industry conditions, he would
Northern District of California
 United States District Court




                                              expect the conspirators could effectively raise tube prices.
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                                       ECF No. 3403-4 at 9 (summarizing opinions).
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                                              The “narrative” to which Defendants object is a recitation of the facts Professor Elzinga
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                                       has gathered from the evidence. He bases his expert opinions on these facts, and he is entitled to
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                                       assume the truth of these facts in giving his opinions. If Plaintiffs fail to prove those facts,
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                                       Defendants may comment on that failure to the jury and urge it to reject Dr. Elzinga’s opinions as
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                                       not supported by the evidence. Moreover, “[e]conomists often explain whether conduct is
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                                       indicative of collusion. For example, courts have held that an expert is permitted to testify that the
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                                       ‘climate’ of a specific market was consistent with a conspiracy.” U.S. Info. Sys., Inc. v. Int’l Bhd.
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                                       of Elec. Workers Local Union No. 3, AFL-CIO, 313 F. Supp. 2d 213, 240 (S.D.N.Y. 2004) (citing
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                                       In re Polypropylene Carpet Antitrust Litigation, 93 F. Supp. 2d 1348, 1355 (N.D. Ga. 2000)
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                                       (denying in part defendants’ motion to exclude plaintiffs’ expert testimony because the expert's
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                                       proposed testimony “that the climate of the polypropylene market during the relevant time period
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                                       was consistent with a finding that Defendants engaged in a conspiracy to fix prices” would be
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                                       “helpful to the trier of fact”) and Re/Max Int’l, Inc. v. Realty One, Inc., 173 F.3d 995, 1003, 1010-
                                  27
                                       11 (6th Cir. 1999) (expert economist, after describing conditions in respective markets,
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                                         Case 4:07-cv-05944-JST Document 4980 Filed 10/25/16 Page 3 of 3




                                   1   opportunities for collusion, evidence pointing to collusion, terms of certain undisputed

                                   2   agreements, and market behavior, expressed opinion that there was concert of action consistent

                                   3   with plaintiff’s conspiracy theory)). That is what Professor Elzinga is doing here.

                                   4          With regard to Defendants’ concern that Professor Elzinga strays into expressing improper

                                   5   legal conclusions, “Rule 704(a) [of the Federal Rules of Evidence] states that opinion testimony is

                                   6   not objectionable on the grounds it embraces an ultimate issue in the case.” Charles Alan Wright

                                   7   & Victor Gold, 29 Fed. Prac. & Proc. Evid. § 6284 (2d ed. 2016). “That said, ‘an expert witness

                                   8   cannot give an opinion as to her legal conclusion, i.e., an opinion on an ultimate issue of law.’”

                                   9   Hangarter v. Provident Life & Acc. Ins. Co., 373 F.3d 998, 1016 (9th Cir. 2004) (quotation

                                  10   omitted). And “while there is the fine line between a permissible conclusion as to an ultimate

                                  11   issue of fact and an impermissible legal conclusion,” In re Air Disaster at Lockerbie Scotland on

                                  12   Dec. 21, 1988, 37 F.3d 804, 827 (2d Cir. 1994), here the line should not be difficult to draw.
Northern District of California
 United States District Court




                                  13   Professor Elzinga will be permitted to testify that both Defendants’ conduct and market conditions

                                  14   were consistent with a conspiracy to fix the prices of cathode ray tubes. He will not be allowed to

                                  15   testify that Defendants actually reached an agreement, or make statements about the subjective

                                  16   state of mind of Defendants’ employees and agents.

                                  17                                             CONCLUSION

                                  18          For the foregoing reasons, Defendants’ Joint Motion to Exclude Certain Expert Testimony

                                  19   of Professor Kenneth Elzinga is denied.

                                  20          IT IS SO ORDERED.

                                  21   Dated: October 25, 2016
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                                                                                                      JON S. TIGAR
                                  23                                                            United States District Judge

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